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IN THE UNITED STATES OISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

AFFIDAVIT IN SUPPORT OF MOTION TO PROCEED
{Declaracidén en apoyo de la mocion para proceder

IN FORMA PAUPERIS
(en forma de pobre)

Lzequid Pine Veet
Petitioner
(Peticionario)

OD-cv-\N OB (FAB

Vu

Defendant
{(Demandado )

bf Juche de Puevie Rice

i freguy[ Droz Uceie , petitioner in the above

captioned case, in support of my motion to proceed without being

required to prepay fees or costs or furnish any guarantee fdr the
same, declare that, because of my economic situation, I am unakje
to pay the costs of said proceedings or furnish any guaranpee x
the same, and I believe that my claim is meritorious. © ....7° =
: . } > ‘
(Yo, ceqetr/ Pier cele , peticionario-: en, elym
caso de epigrafe, en apoyo de mi mocion para proceder *sin’qu@ se?
me requiera pagar por adelantado los honorarios o costas -o pregtart>
alguna garantia para los mismos, deciaro que, por razon cw mii
situacion’' econémica, estoy imposibilitado de pagar los<gqstoe dé
dichos procedimientos o de prestar garantia alguna para jos magmos 2
y creo que mi reclamacién es meritoria. ) ~ .

  

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I declare.that.the answers that I have given as follows are
true. ,
(Declare que las respuestas que doy a continuacion son
ciertas.}-

Ls Petitioner's age: “Aa

‘(Edad del peticionario)

2. Social Security Number:
(Numero de Seguro Social)

Colle SoHhba plezarto Ter
litle Huas z Son dpideo

3. Residential address:
(Direccidén residencial)

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4, Mailing address: S0 Carvetete £5 reirdad 55, '
{Direccidn postal)

1-C Dit dassheicel Luckett;

5 Telephone number: Baryevetor. Pheoa ¢6/- 2408
(Numero de teléefona)

6. Are you married? Yes No x
{ZEsta usted casado?) Si No :

7. Name of spouse:

(Nombre del conyuge)
State/Country of spouse's domicile %.
(Estado/Pais domicilio del cényuge)

&. Petitioner's employment: Spouse's. Employment
(Empleo del peticionario) (Empleo del cényuge)
Employer: Employer:

{Patrono) (Patrono)
Llo VE
Address: Address:
(Direccién) (Direccisn)
Le fe '

Telephone: Telephone:
' (Teléfono) (Teléfono)
Position: Position:
(Puesteo) (Puesto)
Wages: § YO Wages: $ ele.
(Salaric) {Salario)

Monthly (mensual) Monthly (mensual)

Weekly (semanal) Weekly (semanal)

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aa

you are currently unemployed, state the date of your
t employment and the monthly salary you are making.

se encuentra actualmente desempleado, indique la
ha de su ultimo empleo y el sueldo mensual que
engaba.

29 “[20t8 _ s__2ece

Perha rend
m1 op ry
QF

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f your spouse is unemployed, state the date of las
mployment and the monthly salavy.

(Si su conyuge esta desempleado, indique la fecha de su
ultimo empleo y el sueldo mensual.) ~

M Hi

FLO $ LA 2

Have you or your spouse received any income from the
following sources during the past twelve (12) months?
(¢Han recibidoe usted o su cényuge ingresos durante los
ultimos doce meses de las siguientes fuentes?)

If the answer is yes, state the amount.
(Si la contestacién es si, indique la cantidad.)

a. Business, profession or self-employment:
(Negocio, profesion o trabajo por su cuenta)
e

Yes Ble No A Amount : § AO

si No Cantidad

b. Pension, annuity or life insurance payments?
(Pago de pensiones, anualidades o seguro de vida)

Yes No _X Amount : § HO

Si No Cantidad

or Inheritances, donations or gifts?
(Herencias, donaciones o regalos)

Yes No SH Amount : $ ALO

si No Cantidad

a. Prizes in casino, lottery, horseracing games or
other games of chance, etc.
(Premios en juegos de casino, loteria, carreras de

caballo u otros juegos de azar, etc.)

Yes _ No Amount : $ Vike)

si No Cantidad

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Other persons living in the same household:

bh
bo

{Otras personas que residen bajo el mismo techo)

Name Age Relationship Employment Wages
{Nombre ) (Edad) {Parentesco) (Empleo) {(Salario)
Ss s,7To

 

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13. Do you or your spouse or any person living in the same
household receive help from .the government or from any

other person?

(zUsted o su cényuge o alguna persona que vive bajo su
mismo techo recibe ayuda gubernamental o de otra persona?

Petitioner: Yes No
{Peticionario) (Si) (No)
1. State Insurance Ho

(Fondo del Seguro)
2. Unemployment

(Desempleo)
3. Retirement
(Retiro)
4. Pension |
(Pension)
5. Social Security
(Seguro Social)
6. Foed stamps
(Cupones) '
7. Other type of aid WIE?
(Otre tipo de ayuda)
Spouses
(Conyuge)

state Insurance
-  (Fendo del Seguro)
_&e Unemployment

. | (Desemplec)

3. Retiresent
(Retiro)

“As Pension
(Pension)

§. Social Sacurity
(Seguro Social)

6. Food stamps
(Cupones}

7. Other type of aid
(Otro tipo de ayuda)

Pt |
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Amount
(Cantidad)

$

§

 

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14.

Persons living in the same household:
(Personas que viven bajo su mismo techo)

ls State Insurance $
{Fondo del Seguro) /
a Unemployment S AO

(Desempieo)

 

 

 

 

Yes No Amount
(Si). (No) (Cantidad)
&
ie Retirement _ 5
(Retiro) / ,
4. Pension S
(Pension)
5. Social Security olf $
(Seguro Social)
6. Food stamps if Ss
{Cupones } i
7. Other type of aid s LL
(Ctro tipo de ayuda}

Dependents (If they have another address, state so}
(Dependientes: si la direccion es distinta de ld suya,
hagalo constar)

Amount provided to

 

Name Age Relationship support each one
(Nombre) (Edad) (Parentesco} (Cantidad aportada

para su sustento)

 

 

|
/

a

 

Do you own the place where you live? Yes No x
(ZEs propietario del lugar donde reside?) (Si) (No)

If you are the owner, state:
(Si es propietario, indique:)

Estimated value of the house $ jf =
(Valor estimado de la casa)

Capacity of the plot of land or farm ea
(Cabida del solar o finca)

 

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Estimated value of the plot of land Uo
(Valor astimado Gel solar o finca)
16. If you are not the owner of the place of residence,

state:
(Si no @s propietario del lugar de residencia, indique: )

Name of the owner of the residence: gf
(Nombre del propietario de la casa)

Name of the owner of the plot & land:
(Nombre del propietario del solar) 7
Lease payment $ Lio
(Canon de arrendamiento)

17.- State if you own any other real estate property.
(iIndique si posee otros bienes inmuebles. )

 

 

Place Description Estimated value
(Localizacisn) (Descripcicon) {Valor estimado)
$ :
L ae
a l
j He a” $ He

 

18. State if you own any property such as jewelry, stocks,
bonds, notes, automobiles or any other valuable property.
Exclude ordinary household furniture and clothing.
(Indique si posee bienes tales como joyas, acciones,
bones, pagarés, automoéviles o alguna otra propiedad de
valor. Excluya mobiliario corriente y ropa.)

Estimated value

 

(Descripaicn ) (Valor estimado)
s_._/
7
fi vv $ AMD

 

19. State if you possess any cash or any bank account.
-(Indique si tienes dinero en efectivo o alguna cuenta de
bance. )

Cash 8 24

(Dinero en efectivoa)

Checking account, Bank: 7a
(Cuenta corriente, Banco)

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20.

21.

 

Amount: S
(Cantidad)

Savings account, Bank:

(Cuenta de ahorros, Banco) {
Amount: $ Li ==
(Cantidad)

List all your obligations or dabts, including banks, loan

companies, credit accounts, etc.

(Enumere todas sus obligaciones o deudas, incluyendo
bancos, companias de préstamos, cuentas de crédito, etc.)

Creditor: Balance: Monthly payment:
(Acreedor ) (Balance) (Pago Mensual):
| $ L S aE

 

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"

List all your approximate monthly expenses.
(Enumere sus gastos mensuales aproximados. )

 

Food $ |
(Alimentos)

Clothing 3

(Ropa)

Water $

(Agua)

Electricity $

(Luz)

Telephone $
(Teléfono)

Transportation $
(Transportacion)

Others $ “ \ D
(Otros)

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22. Debts or obligations of your spouse that are not included
in item number 20,
(Deudas y obligaciones de su conyuge que no estan
incluidas en el encasillado numero 20.)

Creditor: Balance: Monthly payment:
(Acreedor ) (Balance) (Pago Mensual)

$ VA $
Le 5 A) 9 3 a

I understand that any false statement or answer in this
affidavit carries a penalty for perjury under the provisions of
Title 18 USC, section 1621, and it can subject me to aa prision
sentence up to a maximum of five (5) years or a fine of up to a
maximum of $2,000.00, or both.

(Entiendo que cualquier afirmacion o respuesta falsa en
esta declaracion conlleva pena de perjurio bajo las disposiciones
del Titulo 18 Cédigo de los Estados Unidos, seccion 1621, y me
puede exponer a una pena de prision hasta un maximo de cinco (5)
ahos o una multa hasta un maximo de $2,000.00 o ambas penas. )

’ Lzaspenel 0 eee
etitioner ts “Signature

(Firma del peticionario)

 

I declare under penalty of perjury that the foregoing is

true and correct.
(Declaro bajo pena de perjurio que lo anterior es cierto

y correcto.)

Signed this (2 of Fehevo of 2920
(Firmade el del mes de de 2<o

Eo ped! pz,
/ A#etitionér's signature
(Firma del peticionario)
